     Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 1 of 21




                UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                          SAVANNAH DIVISION


UNITED STATES OF AMERICA              )
                                      )



V.                                    )     Case No. CR413-007
                                      )



LEROY CHISOLM, VINCENT       )
BRYANT, and RICARDO CRAWFORD)



                 REPORT AND RECOMMENDATION

      Three of the twenty-three defendants charged as coconspirators in

this drug case have moved to suppress the evidence secured by the

investigators through court-authorized wiretaps of various cellular

telephones.' Vincent Bryant challenges only the "necessity" for the

wiretap under 18 U.S.C. § 2518(1)(c). In addition to that argument,

defendants Leroy Chisoim and Ricardo Crawford also contend that the

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       Not one of the three defendants filed his own, separate motion to suppress
the wiretaps but instead simply adopted a suppression motion filed by another
defendant in the case. As reflected by the Notices to Counsel returned by these
defendants (which the clerk is directed to make a part of the record), defendants
Leroy Chisoim and Ricardo Crawford both adopt the suppression motion filed by
defendant Grilly Holloway, doc. 217 (which Holloway has since withdrawn).
Defendant Vincent Bryant has adopted the suppression motion filed by codefendant
Chad McCoy, doc. 200 (since withdrawn by McCoy).
    Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 2 of 21




wiretap fails for lack of probable cause, failure to minimize

communications not subject to interception, improper sealing of the

seized conversations (an argument adopted by Bryant at the suppression

hearing), improper seizure of geolocation data, and failure to specify the

persons whose communications are to be intercepted, the description of

those communications, the location of the listening post, and the law

enforcement agency that would conduct the intercepts. Doc. 217. None

of these challenges to the validity of the wiretaps withstands scrutiny.

I. BACKGROUND

      Starting in December 2011 and continuing through November

2012, state and federal investigators sought and obtained a series of

orders2 authorizing the use of wiretaps on numerous cellular telephones

utilized by various individuals known to be engaged in a drug conspiracy.

All three defendants were captured on Target Telephone ("TT") i. As

the wiretap affidavits for TT 1-10 make the same basic showing, it is

clear that if the application and authorization for TT 1 is defective, then

      2
          There were a total of 16 wiretap authorizations. Gov't ex. 1.

         Defendant Chisolm was also intercepted on TT 2-5 and 7-10, defendant
Bryant was intercepted on TT 2-4 and 7-9, and defendant Crawford was intercepted
on TT 9. It is undisputed that each defendant is an "aggrieved person" who has
standing to challenge any wiretap which resulted in the interception of his own
communications. 18 U.S.C. H 2510 (11), 2518 (10)(a).
    Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 3 of 21




all subsequent wiretap applications and orders applicable to these

defendants are similarly defective and, conversely, that if the initial

wiretap authorization and order are valid, then the later wiretaps are

likewise valid.

      On December 14, 2011, Chatham County Superior Court Judge

Louisa Abbot authorized the wiretap of two cellular telephones used by

Anthony King. 4 The wiretap application for Target Telephones ("TT") 1

and 2 was supported by a 94-page affidavit from state narcotics agent

David Arbizo. TT 1 aff. That affidavit recounted in great detail the long

and complex history of law enforcement efforts to investigate the drug

trafficking activities of King, Elmore Michael Singleton, and some of

their associates. King's name (and Singleton's) had surfaced in 2006

during the investigation and successful prosecution of a multi-defendant

drug organization headed by Kobie Ervin. Id. at 10-12. During a 2008



       The wiretap affidavit states that Anthony King had used numerous aliases,
including "GEZ" and "Ghost." TT 1 aff. At 1. King is charged in the present
indictment as "Jarvis King." Doc. 1.

        That investigation, which also involved the use of a wiretap, abruptly ended
when intercepted calls revealed that Ervin and his father had kidnapped and were
about to murder two individuals. TT 1 aff. at 11. The premature interruption of the
investigation thwarted the investigator's efforts to identify Ervin's suppliers. Id.
During a later debriefing following his conviction, Ervin told agents that King and
Singleton were his cocaine suppliers. Id. at 14.

                                         3
    Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 4 of 21




investigation of Pascal Green, another drug trafficker, agents gained

wiretap evidence that King was Green's source of supply and that King

had his own source of supply in Atlanta, Georgia. Id. at 13. Agents then

obtained authorization to wiretap King's phone, but a state judge later

suppressed all evidence obtained pursuant to that wiretap. 6 Id.

      In 2011, both the Chatham Savannah Counter Narcotics Team

("CNT") and the DEA launched a new investigation of King. By

devoting considerable law enforcement resources and time to this

endeavor, agents were able to amass a wealth of information from

confidential informants, surveillance, and toll records analysis about the

membership and structure of the drug organization.                Id. at 18-19.

Agents then made controlled purchases of drugs from one of King's main

distributors in South Carolina. Id. at 19. A CNT informant related that

in December 2003 King had traveled to El Paso, Texas to meet with a

Mexican source of cocaine and marijuana.              Id. at 19-20. A DEA



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        The affiant for the present wiretap affidavit emphasized "that all
information in [his] affidavit was obtained independent of the suppressed
wiretap." TT 1 aff. at 13 (emphasis in original). None of the motions to suppress
presently before the Court challenge this representation. While defendant Bryant's
attorney endeavored to raise the issue at the suppression hearing, he proffered no
evidence that called into question the validity of the affiant's assertion.


                                        11
    Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 5 of 21




informant stated that during 2004 and 2005 he had regularly purchased

one-quarter kilogram quantities of cocaine from King and that he had

observed King in the possession of over 100 pounds of marijuana and

some 5 to 10 pounds cocaine. Id. at 21-22.

      In February 2011 the DEA arranged to have its informant

reestablish contact with King and Singleton.              Id. at 23. Through

surveillance and monitoring phone calls between the informant and

King, agents confirmed that King was still trafficking in drugs and that

he took elaborate measures to avoid law enforcement detection of his

activities.   Id.     King frequently changed cellular telephones and

cautioned the informant that he must do likewise, and that he should

avoid driving flashy cars. Id. at 22-30, 39.

      On two occasions in June 2011, agents succeeded in having the

informant make two controlled purchases of cocaine from King.               Id. at

34-36. In October 2011, agents had the informant make a third

controlled purchase of cocaine from King, and they also surveilled the

informant as he either met with King personally or spoke with him by



       ' In July 2011, during an unrelated investigation of another drug dealer not
known to have any ties with King, agents discovered substantial links between that
dealer and the King organization. TT 1 aff. at 37-38.
    Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 6 of 21




phone (on TT 1) to negotiate other drug transactions.         Id. at 38-58.

Agents had their informant make yet another controlled purchase of

cocaine from King in November 2011.         Id. at 58-59. King called the

informant on TT 2 -- his tenth cellular phone in as many months -- a few

days later.   Id. at 63. Through pen register and toll record analysis,

agents identified numerous individuals with whom King had frequent

contact. Id. at 62-71. Many of these individuals were known by the

agents to be in the drug trade. Id. at 5-9, 62-71.

      Agent Arbizo explained in his affidavit that the goal of the

investigation was not simply to arrest the known targets or seize a single

storehouse of narcotics, but rather to "disable and dismantle the vertical

distribution network of narcotics that extends around the target

individual(s), both to subsidiary dealers who obtain narcotics from them,

as well as those who supply narcotics to them." Id. at 71, 74 (noting that

King was but "a part" of the narcotic distribution network and that the

goal of the investigation was to arrest and convict not only King and

Singleton but also "their co-conspirators, and others yet unknown").

Arbizo stated that while the agents had identified numerous individuals

by name, including targets in other states, the investigation had failed to



                                     6
    Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 7 of 21




establish sufficient evidence to conduct a successful prosecution of those

individuals. Arbizo further explained that neither the use of physical

surveillance (including a pole camera) nor confidential informants (who

remained on the fringe of the organization) had succeeded in achieving

these objectives, and he noted that the use of other investigative

techniques (such as undercover agents, interviews, grand jury subpoenas,

and search warrants) would likely compromise the investigation and pose

a potential threat to informants. Id. at 74-85.

     On the strength of this elaborate showing of probable cause and

necessity, Superior Court Judge Abbot approved the use of the wiretap

on target phones 1 and 2. Subsequent wiretap authorizations by both

state and federal court judges, while supplemented by additional

information, rested upon the same basic showing.

II. ANALYSIS

     A.    Probable Cause

     Two defendants (Chisolm and Crawford) make the unsupported

allegation that the affidavit failed to establish even probable cause to

believe that the target telephones would be used in furtherance of any

criminal activity. Doe. 217 at 6-7. But as the above summary of the



                                     ii
    Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 8 of 21




affidavit reflects, the agents established conclusively that King was a

major drug dealer who regularly used his cellular telephones as part of

his drug business. Not only that, the affidavit reflected King's use of

both TT 1 and TT 2 for that very purpose.       Id. at 58, 60, 68-70. The

probable cause basis for the wiretap is not debatable.

     B. Necessity

     All three defendants allege that the government failed to satisfy the

"necessity" requirement of 18 U.S.C. § 2518(1)(c), which demands that

each wiretap application reflect that "other investigative procedures have

been tried and failed or. . . reasonably appear unlikely to succeed if tried

or to be too dangerous."     Id.   Defendants point to the mountain of

evidence already secured by the investigators using traditional

investigative techniques, but nowhere do they mention or endeavor to

counter the affidavit's statement that these investigative techniques had

proven unsuccessful in accomplishing the goal of identifying all the

members of the conspiracy, the drug network's sources of supply and

transportation methods, or the location of narcotics caches and illicit

proceeds of the drug enterprise. Rather, defendants assert that the

government should have continued to pursue their investigation utilizing


                                     ['1
    Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 9 of 21




the same methods already employed, as well as certain additional

investigative techniques that had yet to be tried. Doc. 200 at 7; doe. 217



      The burden of establishing necessity is "not great."   United States

v. Acosta, 807 F. Supp. 2d 1154, 1239 (N.D. Ga. 2011) (quoting and

citing United States v. Gray, 410 F.3d 338, 343 (7th Cir. 2005)). "The

necessity requirement is designed to ensure that electronic surveillance

is neither routinely employed nor used when less intrusive techniques

will succeed. . . . The affidavit need not, however, show a comprehensive

exhaustion of all possible techniques, but must simply explain the

retroactive or prospective failure of several investigative techniques that

reasonably suggest themselves."     United States v. Van Horn, 789 F.2d

1492, 1495-96 (11th Cir. 1986). The government's showing of necessity

"must be read in a 'practical and commonsense fashion," and the district

court is entitled to "broad discretion" in making its assessment of

necessity.   United States v. Alonso, 740 F.2d 862, 868 (11th Cir. 1984).

An order authorizing a wiretap "will not be overturned 'simply because

defense lawyers are able to suggest post factum some investigative
   Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 10 of 21




technique that might have been used and was not." Id. at 869 (quoting

United States v. Hyde, 574 F.2d 856, 867 (5th Cir. 1978)).

     As the affidavit makes clear, while the agents had amassed

considerable evidence against King -- evidence sufficient to prosecute

him for several drug transactions involving relatively small amounts of

cocaine (1/2 to 2 ounce quantities) -- they had been unable to develop

information about the full scope of his King's own activities (for a few

hand-to-hand drug sales were "hardly representative of King's level of

involvement in the criminal enterprise"), much less gather beyond-a-

reasonable-doubt proof as to all other members of the conspiracy. TT 1

at 74-75. King was quite knowledgeable about law enforcement

investigative techniques, and he regularly engaged in counter-

surveillance methods that made additional surveillance unlikely to reap

more than "ancillary dividends." Id. at 60, 75 (noting that despite law

enforcement interest in King for "11 years," the agents had been unable

to penetrate deeply into his organization or develop sufficient evidence of

the full range of its criminal activities and membership essential to a

successful prosecution). The informants were of limited utility, as they

remained on the periphery of the organization, id. at 79, a pole camera



                                    1Ii
   Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 11 of 21




installed by the agents had to be removed because a person under

observation became too curious about the device, id. at 78, additional

controlled purchases from King would not expand the agents' knowledge

of the conspiracy's much larger scope, id. at 80-81, and the further

examination of toll records offered little hope of unraveling the

organization's complex structure.     Id. at 85-86. Finally, the use of

additional techniques, such as search warrants, grand jury subpoenas,

trash pulls, etc., were more likely to compromise rather than further the

investigation.

     Because the agents' use of conventional investigative techniques

(those reasonably appropriate under the circumstances) had failed to

furnish sufficient evidence to dismantle the drug organization and

successfully prosecute each of its members, it was reasonable for them to

seek a wiretap. Case after case has held that a wiretap may be utilized to

determine the contours and dimensions of an otherwise impenetrable

conspiracy, where investigators have made diligent but unsuccessful

efforts to do so using traditional methods. E.g., United States v. De La

Cruz Suarez, 601 F.3d 1202, 1214 (11th Cir. 2010) (upholding wiretap

where investigators had already uncovered substantial evidence using



                                    11
   Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 12 of 21




pen registers, physical surveillance, and five confidential informants; as

further surveillance would increase the likelihood of discovery and

searches would tip off coconspirators, agents could use wiretaps to

"determine the scope of the conspiracy and all of its members"); United

States v. Johnson, 393 F. App'x 240, 242 (5th Cir. 2010) (agents may

use a wiretap to uncover the scope of a conspiracy when "the affidavit

gave specific reasons why physical surveillance, trash pulls, and the use

of cameras would risk compromising the investigation because of the

geographic layout of the area and would be unlikely to provide

information about the scope of the operation or [defendant]'s supplier"

and further confidential source purchases posed dangers and "would not

likely produce information about other members of the operation or

[defendantj's source"); United States v. Armenta, 373 F. App'x 685, 688-

89 (9th Cir. 2010) (same); United States v. Carter, 449 F.3d 1287, 1293

(D.C. Cir. 2006) (same); United States v. Jackson, 345 F.3d 638, 644-45

(8th Cir. 2003) (same); United States v. Olmedo, 552 F. Supp. 2d 1347,

1365 (S.D. Fla. 2008) ("where conventional techniques will not show the

entire scope of the conspiracy, a wiretap is permissible, even in those

situations where conventional techniques will allow for the arrest and



                                    12
    Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 13 of 21




conviction of some members"). The issuing judge had a sound basis for

concluding that the government had shown a sufficient "necessity" for

the wiretap.'

       C. Failure to Comply with 18 U.S.C. § 2518

       Next, defendants Chisoim and Crawford claim that the wiretap

orders are invalid on their face for failing to specify the persons whose

communications may be intercepted under 18 U.S.C. § 2518(4)(a), failing

to provide a "sufficiently particular description of the type of

communication sought to be intercepted" in violation of 18 U.S.C. §

2518(1)(b)(ii) and 18 U.S.C. § 2518(4)(c), and for generally failing to

comply with § 25 18(4). Doc. 217 at 8-9, 13. These claims amount to little

more than a makeweight.


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         Bryant's adopted brief makes much of a Second Circuit case, United States
v. Lilla, 699 F.2d 99 (2d Cir. 1983), but it is distinguishable. In Lilla, a police officer
had managed a hand-to-hand exchange with a drug dealer but wanted to get a
wiretap to nab his cronies. That was the entirety of the investigation. Nevertheless,
the officer's wiretap affidavit conclusorily stated that "no other investigative method
exists to determine the identity" of individuals involved with the defendant. The
Lilla court noted that the affidavit was so bad "that the only useful purpose that
might be served by the trooper's affidavit . . . is as an exhibit at a police training
academy of how not to conform to the federal and state statutory requirements." Id.
at 105. Unlike the officer in Lilla, the agents in this case conducted a lengthy
investigation and employed a variety of investigative techniques in an effort to
identify and prosecute each member of the conspiracy. Only when those efforts
proved unsuccessful did they apply for a wiretap. Lilla offers no support for Bryant's
argument.


                                            13
    Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 14 of 21




      The Court accepts defendants' contention that the wiretap orders,

standing alone, were not in strict compliance with the statute. While

they did lay out the identity of at least some of those people known by

the officers as likely to be intercepted, they did not specify the nature of

the communications, the location of the listening posts, or the law

enforcement agencies that would be monitoring the wiretaps. Gov't ex.

1, wiretap orders TT1-10. Of course, all of that information was set

forth in the affidavits and applications accompanying the motions.         Id.

Many courts have pointed out that it is analytically inappropriate to

separate the application, affidavit, and order when reviewing for

compliance under § 2518(4). E.g., United States v. Traitz, 871 F.2d 368,

378-79 (3d Cir. 1989); United States v. Leisure, 844 F.2d 1347, 1357 (8th

Cir. 1988).

     More fundamentally, however, "there is no authority in the case

law for the proposition that these particular defects in an authorization

of electronic surveillance should result in suppression." United States v.

Restrepo, 1989 WL 4292 at *3 (D. Conn. Jan. 9, 1989); United States v.

Small, 423 F.3d 1164, 1178 (10th Cir. 2005) (such technical defects do

not undermine the purposes of the statute or prejudice the defendant,



                                     14
    Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 15 of 21




hence suppression is unwarranted); Traitz, 871 F.2d at 380 ("suppression

is not required for facial insufficiency relating the" identification

directives of § 2518(4)); cf. United States v. Gonzalez Perez, 283 F. App'x

716, 722 (11th Cir. 2008) (suppression is not the proper remedy for

failure to identify all those likely to be overheard where that information

did not play a central role in the decision to authorize surveillance);

United States v. Easterling, 554 F.2d 195, 196 (5th Cir. 1977) (same).'

Hence, this claim fails.

      D. Minimization

      Defendants next argue that the agents failed to comply with their

duty to "minimize" under 18 U.S.C. § 2518(5). Doc. 217 at 9. The

pertinent statute provides, in part, that "[elvery order and extension

thereof shall contain a provision that the authorization to intercept shall

be executed . . . in such a way as to minimize the interception of

communications not otherwise subject to interception under this

chapter." 18 U.S.C. § 2518(5). The statute "does not prohibit the

interception of all non-pertinent conversations; rather it requires the


        Easterling is binding Eleventh Circuit authority. See Bonner v. City of
Prichard, 661 F.2d 1206 ) 1209 (11th Cir. 1981) (en bane) (adopting as binding
precedent all decisions of the former Fifth Circuit decided prior to October 1, 1981).


                                          15
   Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 16 of 21




government to conduct the wiretap so as to minimize the interception of

such calls." United States v. Armocida, 515 F.2d 29, 42 (3d Cir. 1974).

The minimization standard is "reasonableness," which is to be assessed

on a case-by-case basis. Id.

     Defendants are silent as to how the agents failed to minimize the

interception of unrelated calls. Instead, they simply state that "[ulpon

information and belief law enforcement agents failed to comply with the

minimization requirement of 18 U.S.C. § 2518(5)." Doc. 217 at 9. They

offer no factual support for the claim whatsoever, despite having been

given open-file discovery, which includes all of the recordings, call logs,

and minimization notes made by the agents who conducted the

intercepts. Hence, they have not met their burden of going forward with

this claim. See Patton v. United States, 2010 WL 3191887 at *7 (W.D. Pa.

Aug. 11, 2010); cf. United States v. Edwards, 69 F.3d 419, 430 (10th Cir.

1995) (denying appellate review where defendant failed to support his

minimization issue "with any reasoned argument or citations to the

record"). In any event, the government has met its prima facie showing

of minimization by including the minimization memoranda along with

each wiretap, United States v. Royster, 2007 WL 4336321 at *14 (M.D.



                                    16
    Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 17 of 21




Ga. Dec. 7, 2007), which include a long and detailed set of instructions

explicitly limiting the intercepting agents to listening to conversations of

target subjects relating to specific drug-related criminal offenses.              E.g.,

Gov't ex. 1, TT1 "Monitoring Instructions". Defendants have not come

back with any evidence showing that these restrictions were not

followed. And even if they had, total suppression of the information

gained from the wiretaps is not an appropriate remedy. 1°

       E. Sealing

       Next, defendants claim that the wiretaps were not sealed in

accordance with 18 U.S.C. § 2518(8)(a). Doc. 217 at 10. That provision

requires that, "[i]mmediately upon the expiration of the period of the


       10 Absent a flagrant violation of the minimization requirements, total
suppression of all monitored calls is highly unlikely and, quite probably,
inappropriate. See United States v. Ozar, 50 F.3d 1440, 1448 (8th Cir. 1995)
("Clearly Congress did not intend that evidence directly within the ambit of a lawful
order should be suppressed because the officers, while awaiting the incriminating
evidence, also gathered extraneous conversations. The non-incriminating evidence
could be suppressed pursuant to 18 U.S.C. § 2518(10)(a), but the conversations the
warrant contemplated overhearing would be admitted.") (citation omitted); United
States v. Suggs, 531 F. Supp. 2d 13, 24 (D.D.C. 2008) ("[t]otal suppression 'is not
appropriate unless the moving party shows that there was a taint upon the
investigation as a whole sufficient to warrant sweeping relief . . . and is reserved for
the 'particularly horrendous case' . . . 'where the government has made effectively no
effort towards minimization whatsoever' ") (citations omitted); United States v.
Batiste, 2007 WL 2412837, at *16 (S.D. Fla. Aug. 21, 2007) (errors in minimizing
particular calls do not automatically warrant suppression of all intercepts "unless a
defendant demonstrates that the entire surveillance was tainted").


                                          17
   Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 18 of 21




order [authorizing the interception of wire, oral, or electronic

communications], or extensions thereof, such recordings shall be made

available to the judge issuing such order and sealed under his

directions." 18 U.S.C. § 2518(8)(a). As a prerequisite to offering

testimony concerning the content of the intercepted communications or

evidence derived therefrom, the government must show "[t]he presence

of the seal provided for by this subsection, or a satisfactory explanation

for the absence thereof. . . ." Id. (cross-referencing 18 U.S.C.A. §

2517(3)).

     A recording is sealed in accordance with the immediacy

requirement of § 2518(8)(a) if it is sealed within one or two days of the

expiration of the period of the order.   United States v. Matthews, 431

F.3d 1296, 1307 (11th Cir. 2005). It is well settled that weekends need

not be counted in determining whether sealing orders were filed

immediately on the wiretap's expiration. United States v. Wong, 40 F.3d

1347, 1375 (2d Cir. 1994); United States v. Maxwell, 25 F.3d 1389, 1394

(8th Cir. 1994); United States v. Carson, 969 F.2d 1480, 1498 (3d Cir.

1992); United States v. Rice, 2005 WL 2180019 at *1 (W.D. Ky. Sep. 9,

2005); United States v. Bennett, 825 F. Supp. 1512, 1527 (D. Cob. 1993).
    Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 19 of 21




      The government's unrebutted recitation shows that all the

recordings were timely sealed, save three: TT 4 was four days late, TT 5

was six, and TT 6 was three.' 1 Doe. 250 at 18. In each instance, the

delay resulted from the unavailability of the issuing judge. Id. at 18-19.

Courts have regularly forgiven delays based on the judge's unavailability

absent any tampering with the recordings or prejudice caused to the

defendants.   United States v. Kusek, 844 F.2d 942, 946 (2d Cir. 1988);

United States v. Ardito, 782 F.2d 358, 363 (2d Cir. 1986); cf United

States u. Suarez, 906 F.2d 977, 982 (4th Cir. 1990) (emphasizing that

absent prejudice to the defendants or some tactical advantage to the

government, courts will generally forgive late sealing). Moreover, courts

have forgiven much longer delays with some frequency. See e.g., United

States v. Pedroni, 958 F.2d 262, 264 (9th Cir. 1992) (forgiving 14-day

delay). Here, the delay was relatively short and there is no evidence

suggesting bad faith on the government's part or any prejudice to the

defendants. Hence, this claim fails.




       " Another record was not sealed for over a month, but no calls had been
intercepted on that wiretap. Doc. 250 at 19.

                                       19
    Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 20 of 21




      F. Geolocation Data

      Defendants argue that the government illegally seized geolocation

data in violation of United States v. Jones, - U.S. -, 132 S. Ct. 945

(2011). There, the Supreme Court held that the use of a Global

Positioning System ("GPS") tracking device to monitor a vehicle's

movements was a search within the meaning of the Fourth Amendment.

That case is inapposite in several respects. First, the affidavits here

clearly lay out sufficient probable cause to satisfy the Fourth

Amendment's strictures as to each targeted telephone. Second, even if

the wiretap order was too broad in extending to geolocation data from

any caller who connected to the targeted telephones, defendants have not

come forward with facts suggesting that such an interception actually

occurred, that the person who was intercepted had standing to raise the

issue, or, more fundamentally, that suppression of the entire wiretap is

an appropriate remedy for such overbroad language. As the government

asserts, "the argument is too general" to warrant serious consideration.

Doc. 250 at 20.




                                    20
    Case 4:13-cr-00007-JRH-CLR Document 348 Filed 06/13/13 Page 21 of 21




        III. CONCLUSION

        For the above stated reasons, defendants' motions to suppress

should be DENIED.

        SO REPORTED AND RECOMMENDED this 13day of June,

2013.

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                                  UNITE STATES MAGISTRATE JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA




                                    21
